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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     July 6, 2023

Honorable Denise L. Cote
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. James Velissaris,
               22 Cr. 105 (DLC)

Dear Judge Cote:

       The parties write to jointly propose a process for determining the reasonableness of the
attorney’s fees sought in the above-captioned case, per the Court’s June 27, 2023 Order. (Dkt.
131).

       There are three disputes that the Court must resolve regarding restitution for attorney’s
fees. First, the parties disagree about the categories of legal expenses for which restitution is
owed under the Mandatory Victim Restitution Act (“MVRA”). Second, the parties disagree
about whether specific expenses fall within the MVRA’s categories. Third, the parties disagree
about whether specific expenses are excessive, even if they fall within a category covered by the
MVRA. The first question is already fully briefed for the Court. The second and third questions
have not yet been fully briefed.

        Accordingly, the parties jointly propose the following process: by July 14, 2023, the
Government shall provide the defendant and the Court with invoices that support the victims’
claims for legal expenses. By July 21, 2023, the defendant shall submit a letter identifying the
specific portions of the invoices that it believes are not reasonable or are not covered by the
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MVRA, along with any additional legal argument he deems necessary. By July 28, 2023, the
Government shall respond to this letter.


                                            Respectfully submitted,

                                            DAMIAN WILLIAMS
                                            United States Attorney

                                      by:        /s/
                                            Margaret Graham
                                            Assistant United States Attorney
                                            (212) 637-2923


                                            /s/
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